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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,                       §
                         Plaintiffs,   §
 and                                   §              CIVIL ACTION NO. 4:18-CV-3368
                                       §              JUDGE EWING WERLEIN, JR.
 BAYOU CITY WATERKEEPER,               §
                 Plaintiff-Intervenor, §
 v.                                    §
                                       §
 CITY OF HOUSTON,                      §
                         Defendant.    §

         Reply in Support of Bayou City Waterkeeper’s Opposed Motion to Consolidate

       Bayou City Waterkeeper files this reply in support of its motion to consolidate. (See ECF

No. 22). The plaintiffs United States of America and State of Texas concede that the government

enforcement action and Bayou City Waterkeeper citizen suit involve common questions of law

and fact, and thus, the court has broad discretion to consolidate the cases. (ECF No. 26 at 6, 8).

The United States’ and the State’s arguments against consolidation are based primarily on the

possibility that settlement negotiations may eventually make consolidation unnecessary. (Id. at 8-

9). Similarly, the City does not argue that the motions to dismiss Bayou City Waterkeeper’s citizen

suit or ongoing settlement discussions preclude consolidation, only that both have the potential, if

granted or entered by this Court or Judge Hanen, to eventually moot consolidation. (ECF No. 24

at 3). Reaching the other parties’ conclusions, requires the Court to assume these events will occur,

which is prejudicial to Bayou City Waterkeeper, because it assumes any settlement will moot their

claims or that Judge Hanen will dismiss the citizen suit. However, considering the cases as they

currently stand would not prejudice any party and would further judicial efficiency. For this reason,

the Court should grant Bayou City Waterkeeper’s motion to consolidate.



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         The other parties argue that dismissal of Bayou City Waterkeeper’s citizen suit or

settlement of this lawsuit would moot Bayou City Waterkeeper’s consolidation motion. Both of

these arguments rely on a certain chain of events that have not taken place or issues that are not

relevant to the inquiry before the Court. For example, a consent decree would still require, at a

minimum, that negotiating parties agree to final proposed language, which is then subject to review

and approval by Houston’s mayor and city council and the appropriate officials of the United States

and State, then submitted for 30-day notice and comment, and finally, approved by the Court. See

28 C.F.R. § 50.7; Texas Water Code § 7.110; see also ECF No. 19 at 5. Only then, would the Court

be able to determine whether the consent decree also moots Bayou City Waterkeeper’s claims. Not

only has this series of events yet to occur, the process may still take several months to complete,

even under the most optimistic of timelines.

         Furthermore, in insisting that the ongoing settlement negotiations will eventually moot the

motion to consolidate, the other parties sidestep an important point: consolidating the cases will

not have any effect on the settlement negotiations, which can continue absent a different decision

by the Court. Therefore, there is no risk of prejudice or confusion to the other parties currently

negotiating settlement.

         Similarly, the City attempts to litigate issues here that are not before the Court, and are

irrelevant to the Court’s inquiry on Bayou City Waterkeeper’s motion to consolidate. Bayou City

Waterkeeper’s motion does not ask the court to simultaneously rule on the pending motions to

dismiss or consider diligent prosecution arguments, lift the stay, interrupt or alter settlement

negotiations, or to rule on attorneys’ fees. (See ECF No. 24 at 9-14).1 And contrary to the City’s




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  Bayou City Waterkeeper did not brief the issues related to the motion to dismiss and diligent prosecution, lifting the
stay, or attorneys’ fees to this Court, and reserves and requests the right to do so at the appropriate time.

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accusations, Bayou City Waterkeeper maintains that it does not want to interrupt settlement

negotiations; rather, it wants to participate in negotiations to ensure that all relevant and accurate

data and information is being considered in crafting a proposed agreement, and that the significant

financial commitments anticipated from the City, pursuant to a consent decree, will result in

compliance and accountability.2

         These arguments against consolidation are speculative and fail to acknowledge the Court’s

broad discretion in coordinating and managing its docket. The City’s motions to dismiss Bayou

City Waterkeeper’s citizen suit are still pending. Because both cases are in the very early stages of

litigation, whereby no discovery has occurred and neither Court has expended significant judicial

resources, it would not be unreasonable for one Court to become familiar with the complex set of

facts and the intertwined legal issues that connect these two cases related to “one the largest and

most complicated wastewater systems in the nation.” (ECF No. 24 at 1).

         Tellingly, none of the cases cited by the EPA and State offer any compelling basis for

denying Bayou City Waterkeeper’s motion to consolidate. For example, the EPA and State rely

heavily on Wellogix, Inc. v. Accenture, LLP, No. 3:08–cv–119, 2010 WL 11469762 (S.D. Tex.

December 20, 2010), to suggest that courts have denied consolidation motions when cases are at

different stages of development. But the facts in Wellogix support Bayou City Waterkeeper’s

assertion that the two cases here are not at “markedly different procedural postures.” In Wellogix,

the Court found no common legal questions and found the factual similarities were minimal. Id. at

*2-3. Even with uncertainty surrounding the threshold issue, the Court analyzed the stage of the

proceedings and found that the close of the discovery period was imminent in the earlier-filed case,



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   City Waterkeeper has demonstrated that it does not intent to interrupt settlement negotiations, by allowing
negotiations to continue without attempting to lift the stay. (See ECF No. 18 at 2)(clarifying in its reply in support of
its motion to intervene that Bayou City Waterkeeper was not asking the Court to lift the stay).

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while the defendant in later-filed case had only just filed an answer. Id. at *3. Although the Court

did heavily consider the stage of proceedings in denying consolidation, the Court’s rationale was

that consolidation would result in the unnecessary delay of the earlier-filed case in order to

accommodate appropriate discovery and pre-trial matters in the later-filed case. Id. Here, discovery

has not begun in either case, no trial dates have been set, and importantly, consolidating the cases

will not delay settlement negotiations, should the Court continue to stay proceedings. In fact, it

would provide for efficient coordination between the two cases.

        The EPA and State also cite United States v. Vasi, Nos. 5:90-1167 & 5:90-1168, 1991 WL

557609, (N.D. Ohio Mar.6, 1991) and Margolis v. Hydroxatone, LLC, No. 11-4355, 2013 WL

875987 (D.N.J. Mar. 6, 2013) to try and show the cases in Bayou City Waterkeeper’s motion to

consolidate are at different stages of development. Again, Vasi and Margolis are factually distinct

and not persuasive. In Vasi, a potentially responsible party (“PRP”) Beazer East Inc. filed together

a motion to intervene in a CERCLA action3 and a motion to consolidate the case. Vasi, 1991 WL

557609, at *1. Beazer East did not seek to intervene or consolidate the cases until the other parties

had reached agreed language, the notice and comment period had been completed, and the consent

decree was ready to be filed with the Court. Id. at *2.

        Similarly, Margolis involved two class actions whereby the second action was filed only

days after Margolis filed the earlier action. Margolis, 2013 WL 875987, at *1. However,

Margolis acknowledged the two cases did not share common questions of law or fact when they

were initially filed. Id. at *3. Both cases proceeded through discovery and on for nearly one and




3
  Intervention in CERCLA actions are unique from intervention in, for example, Clean Water Act suits, because under
CERCLA, a PRP may seek contribution from other PRPs; however, a party that settles with the government in a
consent decree may be protected from claims of contribution by other PRPs, meaning a non-settling PRP’s total
liability can be impacted directly by a consent decree. See CERCLA Section 113(f)(2), 42 U.S.C. § 9613(f)(2).

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a half years, before Margolis moved to consolidate. Id. The Margolis Court concluded that

consolidation was unwarranted where the parties had already moved for preliminary approval of

a negotiated settlement and the consolidation would effectively delay the Court’s ultimate

consideration of the settlement. Id. The Court also concluded consolidation would not save

judicial resources and efficiency, since after a year and a half, such duplication of judicial

resources has already occurred. Id. at *4.

       Here, Bayou City Waterkeeper is already a party, and although not included in settlement

discussions, the latest joint status report indicates that the negotiating parties have not yet reached

agreed language, have not begun the notice and comment period, and are not ready to lodge a

consent decree. A proposed consent decree could take many months, if one is reached at all, and

it is unknown whether that settlement will moot Bayou City Waterkeeper’s claims. Consolidation

is appropriate because it would avoid the two actions proceeding separately through discovery or

settlement and duplicating judicial resources. Because consolidation will not delay settlement or

otherwise prejudice the parties—in fact, consolidating will aid in settlement by all parties—the

Court should grant Bayou City Waterkeeper’s motion.

Date: January 4, 2019

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                                         Certificate of Service

       I certify that on January 4, 2019, I electronically filed this Reply in Support of Bayou City

Waterkeeper’s Opposed Motion to Consolidate using the CM/ECF system, which automatically

sends notice and a copy of the filing to all counsel of record.




                                                      /s/ David Frederick
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